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             September 24, 2020 Filing Confirmation
                          EXHIBIT C
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         Case: 1:21-cv-01955 Document #: 1-3 Filed: 04/12/21 Page 2 of 3 PageID #:23
                                                        IJ. S, Department of Justice
                                                        Drug Enforcement Administration




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    CEryUFIED MAIL - RETURN RECEIPT REOUESTEI)




    Edward Johnson, Esq.
    555 W. Jackson Boulevard
    Suite 700
    Chicago, lL 60661




    Re     Asset ID No.:        20-DEA-66495t
           Property:            $33,783.00 U. S. Currency
           Judicial District:   Northern District of Illinois
           Petitioner:          Mary S. Wilson


    Dear Mr. Johnson,



    Your Petition for Remission and/or Mitigation of forfeiture or Petition for Reconsideration for the
    above-referenced seizure has been received by this office. The following information is provided:

     X     Your Petition for Remission and/or Mitigation will be ruled on administratively by this
           office. Before any decision can be made, your petition must be reviewed and an investigation
           may be required.

           This seizure was referred to the United States Attorney for the above-noted judicial district
           for judicial forfeiture proceedings. Therefore, your petition was forwarded to that office for
           handling. We request that all further inquiries concerning this seizure be directed to the
           United States Attorney's office in the above-noted judicial district.

           Your Petition for Reconsideration will be ruled on administratively by this office. Before any
           decision can be made, your petition must be reviewed and an investigation may be required.



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                  The Petition for Remission or Reconsideration which you submitted in the above-referenced
                  matter is still under consideration. If you have any additional infonnation/documentation to
                   support your petition, you must submit it within 20 days from receipt of this letter.
                   Otherwise, the decision on your petition will be made on your previous submission.

                  Your petition is g!!ggg!y and cannot be considered because it was received after the
                  property was forfeited. You were informed in the Notice of Seizure that, to assure its
                  consideration, any petition must be filed within 30 days of receipt of the notice. Fwther,
                  pursuant to 21 C.F.R. Section 9.3(a), petitions shall be considered any time after notice until
                  the property has beenforfeited. Therefore, your petition is being returned. This matter is
                  now closed in this office.

        Further correspondence with this office must include the Asset ID number referenced above and be
        addressed to the Forfeiture Counsel, Asset Forfeiture Section, Drug Enforcement Administration,
        HQs Forfeiture Response, 8701 Morrissette Drive, Springfield, Virginia 22152.



        Sincerely,

                                          9/24/2020



         X     Linda Rannazzisi
         Linda Rannazzisi


         Signed   by   DEA



        Asset Forfeiture Section
        Offrce of Operations Management
